
659 S.E.2d 735 (2008)
Gerald T. LANE, Employee
v.
AMERICAN NATIONAL CAN COMPANY, Employer, Self-Insured
(Gallagher Bassett Services, Inc., Servicing Agent).
No. 124P07.
Supreme Court of North Carolina.
March 6, 2008.
J. Griffin Morgan, Winston-Salem, for Gerald T. Lane.
George H. Pender, Courtney C. Britt, Raleigh, for Can Company.
Prior report: 181 N.C.App. 527, 640 S.E.2d 732.

ORDER
Upon consideration of the petition filed on the 12th day of March 2007 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th day of March 2008."
MARTIN, J., recused.
